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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MARK DENICOLO                       )
                                    )
            Plaintiff,              )                  CASE NO.: 1:19-cv-01559
                                    )
      -v-                           )                  JUDGE:
                                    )
SUNRISE CREDIT SERVICES, INC.       )                  COMPLAINT
                                    )                  JURY DEMAND ENDORSED HEREON
            Defendant               )
____________________________________)

       Plaintiff, Mark DeNicolo, for his complaint against Sunrise Credit Services, Inc.

(“Defendant”), states as follows:

                                    NATURE OF THE ACTION

       1.      Plaintiff brings this action seeking actual and statutory damages, reasonable

attorneys’ fees and costs, for Defendants’ violations of the Fair Debt Collection Practices Act, 15

U.S.C. §§ 1692 et seq. (“FDCPA”), and the Illinois Consumer Fraud and Deceptive Business

Practices Act, 815 ILCS 505/10a (“ICFA”), stemming from Defendants’ unlawful debt collection

practices as described more fully in this complaint.

                                    JURISDICTION AND VENUE

       2.      This action arises under and is brought pursuant to the FDCPA. Subject matter

jurisdiction is therefore conferred upon this Court by 15 U.S.C. § 1692 and 28 U.S.C. §§ 1331,

1337, as the action arises under the laws of the United States. Supplemental jurisdiction exists for

the state law claim pursuant to 28 U.S.C. § 1367.
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        3.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, as Defendant transacts

business within the Northern District of Illinois and the events and/or omissions giving rise to the

claims made herein occurred within the Northern District of Illinois.

                                              PARTIES

        4.      Plaintiff, Mark DeNicolo (“Mr. DeNicolo”), is a natural adult person currently

residing in West Chicago, Illinois, which lies within the Northern District of Illinois.

        5.      Mr. DeNicolo is a “consumer” as that term is defined in § 1692a(3) of the FDCPA.

        6.      Mr. DeNicolo is a “person” as that term is defined and/or used within the ICFA.

        7.      Defendant, Sunrise Credit Services, Inc., is a New York corporation in the business

of collecting consumer debts on behalf of others within the state of Illinois and throughout the

United States. As such, Defendant regularly uses the mails and/or telephone to collect, or attempt

to collect, delinquent consumer accounts.

        8.      In its correspondences and on its website, Defendant identifies itself as a “debt

collector.”

        9.      Defendant is a “debt collector” as that term is defined in § 1692a(6) of the FDCPA.

        10.     Defendant is a “person” as that term is defined and/or used within the ICFA.

        11.     Defendants acted through their agents, employees, officers, members, directors,

heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives and/or insurers

at all times relevant to this action.

                                        FACTUAL ALLEGATIONS

        12.     Plaintiff’s full name is Mark DeNicolo. Plaintiff has never been known by any other

name.




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       13.     Plaintiff takes great pride in his good name and credit score and works hard to

ensure that his bills are paid in full and on time every month. As such, Mr. DeNicolo often

schedules payments prior to the due date with his JP Morgan Chase Checking Account (“Chase

Account”).

       14.     As one of his monthly bills, Mr. DeNicolo had an account with a cable and internet

service provider named AT&T U-Verse. On or around September 11, 2018, Mr. DeNicolo

approved a $70.00 payment to AT&T U-Verse using his Chase Account. A copy of the approved

payment screen, for a $70.00 payment, is attached to this complaint as Exhibit A.

       15.     Thereafter, Mr. DeNicolo’s Chase Account was charged $152.40, an amount much

higher than he had authorized (the “Subject Debt”). Therefore, Mr. DeNicolo disputed the payment

on October 16, 2018. A copy of the Dispute letter, dated October 16, 2018, is attached to this

complaint as Exhibit B.

       16.     Due to his disputed payment, Chase refunded Mr. DeNicolo the $152.40 payment

to his Chase Account. A copy of the account credited page, dated October 16, 2018, is attached to

this complaint as Exhibit C.

       17.     Soon thereafter the AT&T U-Verse account was in default and it was sold, assigned

and/or transferred to Defendant for collection.

       18.     On or around December 3, 2018, Defendant’s agent telephoned Mr. DeNicolo in

an attempt to collect $152.40 for the Subject Debt (the “Phone Call”).

       19.     Mr. DeNicolo had never had any prior contact with Defendant and the Phone Call

was the initial communication in an attempt to collect the Subject Debt.

       20.     During the Phone Call, Mr. DeNicolo clearly stated he disputed the Subject Debt.




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        21.     Defendant’s agent continued to attempt to collect upon the Subject Debt, even after

Mr. DeNicolo verbalized that he disputed owing the Subject Debt.

        22.     Confused, frustrated, and at a complete loss with what else he can do to put a stop

Defendant’s continued collection activity against him, Mr. DeNicolo reached out to his attorneys

for clarification regarding his rights.

                                             DAMAGES

        23.     Plaintiff has been harassed and misled by Defendant’s collection actions.

        24.     Plaintiff justifiably fears that, absent this Court’s intervention, Defendant will

continue to attempt to collect payment from him on the Subject Debt using unlawful means and

ultimately cause him unwarranted economic harm.

        25.     Due Defendant’s conduct, Plaintiff was forced to hire counsel and his damages

therefore include reasonable attorneys’ fees incurred in prosecuting this claim.

        26.     After a reasonable time to conduct discovery, Mr. DeNicolo believes he can prove

that all actions taken by Defendant as described in this complaint were taken willfully, with either

the desire to harm him, with knowledge that its actions would very likely harm him, and/or with

knowledge that its actions were taken in violation of the law.

        27.     Due to Defendant’s conduct, Plaintiff is entitled to statutory damages, punitive

damages and all other appropriate measures to punish and deter Defendant and other debt

collection agencies from engaging in the unlawful collection practices described herein.

                                     GROUNDS FOR RELIEF

                                           COUNT I
                 VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                     15 U.S.C. §§ 1692d, e, e(2)(A), e(8), e(10), f, and f(1)

        28.     All prior paragraphs are incorporated into this count by reference.


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       29.      The FDCPA states, in relevant part:

                   “A debt collector may not engage in any conduct the natural
                   consequence of which is to harass, oppress, or abuse any person in
                   connection with the collection of a debt.” 15 U.S.C. § 1692d.

                   “A debt collector may not use any false, deceptive, or misleading
                   representation or means in connection with the collection of any
                   debt. Without limiting the general application of the foregoing, the
                   following conduct is in violation of this section: (2) The false
                   representation of – (A) the character, amount, or legal status of any
                   debt; (10) The use of any false representation or deceptive means to
                   collect or attempt to collect any debt or obtain information concerning
                   a consumer.” 15 U.S.C. §§ 1692e, e(2)(A) and e(10).

                   “A debt collector may not use unfair or unconscionable means to
                   collect or attempt to collect any debt. (1) The collection of any amount
                   (including any interest, fee, charge, or expense incidental to the
                   principal obligation) unless such amount is expressly authorized by
                   the agreement creating the debt or permitted by law.” 15 U.S.C. §§
                   1692f and f(1).

       30.      Defendant violated 15 U.S.C. §§ 1692d, e, e(2)(A), e(8), e(10), f and f(1) by

repeatedly dunning Plaintiff in connection with the Subject Debt despite the fact that: (a) Plaintiff

was not legally responsible for repayment of the Subject Debt; and (b) Plaintiff previously disputed

the validity of Subject Debt with the original creditor and again during the initial communication

with Defendant, but never received any verification/validation from Defendant in response.

       31.      At all relevant times, Defendant knew or should have known that: (a) Plaintiff was

not legally responsible for repayment of the Subject Debt; (b) Plaintiff disputed the validity of the

Subject Debt; and (c) because Plaintiff disputed the Subject Debt during the initial communication,

Defendant was required to cease collection efforts in connection with the Subject Debt until its

provided Plaintiff with written verification/validation of Subject Debt. Instead, Defendant’s agent

continued to attempt to collect upon the Subject Debt after Plaintiff disputed the validity of the

Subject Debt.



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       32.     As an experienced debt collector, Defendant knows that it cannot dun a consumer

in connection with a debt that such consumer is not responsible for and, additionally, upon receipt

of a dispute from the consumer as to the validity of the debt, must cease all collection efforts until

providing the consumer with sufficient validation/verification of the debt.

       33.     As set forth in paragraphs 23 through 27 above, Plaintiff has been harmed and has

suffered damages as a result of Defendant’s unlawful collection practices as described herein.

                                   COUNT II
VIOLATIONS OF THE ILLINOIS CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT
                                815 ILCS § 505/2

       34.     All prior paragraphs are incorporated into this count by reference.

       35.     The ICFA states, in relevant part:

                   “Unfair methods of competition and unfair or deceptive acts or
                   practices, including but not limited to the use or employment of any
                   deception, fraud, false pretense, false promise, misrepresentation or the
                   concealment, suppression or omission of any material fact, with intent
                   that others rely upon the concealment, suppression or omission of such
                   material fact . . . in the conduct of any trade or commerce are hereby
                   declared unlawful whether any person has in fact been misled, deceived
                   or damaged thereby.” 815 ILCS § 505/2.

                   “Any person who suffers actual damage as a result of a violation of this
                   Act committed by any other person may bring an action against such
                   person. The court, in its discretion may award actual economic damages
                   or any other relief which the court deems proper.” 815 ILCS § 505/10a.

       36.     Defendant’s collection activity in connection with the Subject Debt constitutes

“conduct of any trade or commerce” as that phrase is defined and/or used within the ICFA.

       37.     Defendant violated the ICFA, namely 815 ILCS § 505/2, by engaging in unfair,

abusive, and deceptive conduct in its transactions with Plaintiff, by, inter alia, repeatedly dunning

Plaintiff in connection with the Subject Debt despite the fact that: (a) Plaintiff was not legally

responsible for repayment of the Subject Debt; and (b) Plaintiff previously disputed the validity of



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Subject Debt with Defendant, but never received any verification/validation from Defendant in

response, and Defendant’s agent continue to attempt to collect upon the Subject Debt.

       38.     As set forth in paragraphs 23 through 27 above, Plaintiff has been harmed and has

suffered damages as a result of Defendant’s unlawful collection practices as described herein.

       39.     Plaintiff is therefore entitled to relief pursuant to 815 ILCS § 505/10a.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, Mark DeNicolo, respectfully requests that this Court enter

judgment in his favor as follows:

       A. Awarding Plaintiff actual damages, in such amounts as determined by the jury, as
          provided under 15 U.S.C. § 1692k and 815 ILCS § 505/10a;

       B. Awarding Plaintiff statutory damages in the amount of $1,000.00, as provided under
          15 U.S.C. § 1692k(a)(2)(A);

       C. Awarding Plaintiff punitive damages, in such an amount as determined by the jury, as
          provided under 815 ILCS § 505/10a;

       D. Awarding Plaintiff the costs of this action and reasonable attorneys’ fees, as provided
          under 15 U.S.C. § 1692k(a)(3) and 815 ILCS § 505/10a; and

       E.    Awarding Plaintiff such other and further relief as may be just and proper.



Dated: March 5, 2019                                  Respectfully Submitted,

                                                        /s/ Kristen C. Wasieleski
                                                      Kristen C. Wasieleski #6303018
                                                      David S. Klain #0066305
                                                      CONSUMER LAW PARTNERS, LLC
                                                      333 N. Michigan Ave., Suite 1300
                                                      Chicago, Illinois 60601
                                                      (267) 422-1000 (phone)
                                                      (267) 422-2000 (fax)
                                                      kristen.w@consumerlawpartners.com

                                                      Counsel for Plaintiff

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                                 JURY DEMAND


Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial to a jury on all issues of fact.

                                                /s/ Kristen C. Wasieleski
                                               Kristen C. Wasieleski #6303018
                                               CONSUMER LAW PARTNERS, LLC




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               VERIFICATION OF COMPLAINT AND CERTIFICATION

STATE OF ILLINOIS                      )
                                       ) ss
COUNTY OF DUPAGE                       )

Pursuant to 28 U.S.C. § 1746, Plaintiff, Mark DeNicolo, having first been duly sworn and upon
oath, verifies, certifies, and declares as follows:

   1. I am the Plaintiff in this civil proceeding.

   2. I have read the above-entitled Complaint prepared by my attorneys and I believe that all of
      the facts contained in it are true, to the best of my knowledge, information and belief formed
      after reasonable inquiry.

   3. I believe that this Complaint is well grounded in fact and warranted by existing law or by a
      good faith argument for the extension, modification, or reversal of existing law.

   4. I believe that this Complaint is not interposed for any improper purpose, such as to harass
      Defendant, cause unnecessary delay to Defendant, or create a needless increase in the cost of
      litigation to Defendant.

   5. I have filed this Complaint in good faith and solely for the purposes set forth in it.


       I declare under penalty of perjury that the foregoing is true and correct.


               Executed on this 5th day of March, 2019.



               __________________________________________
                                 Signature




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